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AO 442 (Rev. 01/09) Arrest Warrant | | (VD

UNITED STATES DISTRICT COURT Fi] L - D

for the

OCT 29 2019

Eastern District of California
CLERK, U.S. DISTRICT COURT

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United States of America ey
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v. ) 7 >
Jorge Lamas ) Case No A 1G me ole- EV .
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Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

 

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecegsary'‘telay

(name of person to be arrested) Jorge Lamas >
who is accused of an offense or violation based on the following document filed with the court:

 

1 Indictment O Superseding Indictment Ol Information (1 Superseding Information mt Complaint
1 Probation Violation Petition 1 Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

COUNT 1: Conspiracy to Manufacture at least 50 Marijuana Plants, in violation of 21 U.S.C. §§ 846 and 841(a)(1)
COUNT 2: Manufacture at least 50 Marijuana Plants, in violation of 21 U.S.C. § 841(a)(1)
COUNT 3: Possession of a Firearm in Furtherance of a Drug Trafficking Offense, in violation of 18 U.S.C. § 924(c)

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AB Z
Date: 10/27/2019 tijyy Ys LZ £¢¢t—

Issuing officer's signature

  

City and state: | Sacramento, California United States Magistrate Judge Edmund F. Brennan

Printed name and title

 

 

 

Return

 

 

This warrant was received on a, of SO L , and the person was arrested on (date) SO LPTF o-52-/ GF
at (city and state) Li ve ( oA K,

pas £0 39-149) OO"

Arresting officer's signature

Lave SRitw50) Deg Tfre

Printed name and title

 

 

 

 
